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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH JUISTI                       :             CIVIL ACTION
                                    :
          v.                        :
                                    :
CITY OF CHESTER, et al.             :              NO. 18-2317


                                 ORDER

          AND NOW, this 22nd day of October, 2018, for the

reasons set forth in the accompanying memorandum, it is hereby

ORDERED that the motions of defendants to dismiss the complaint

(Docs. ## 13 and 16) are GRANTED in part as follows:

          (1)    Count I of the complaint, “Violation of Title

VII—Reverse Race Discrimination,” is dismissed as to defendants

Otis Blair and Marilyn Lee;

          (2)    Count II of the complaint, “Violation of the

Americans with Disabilities Act of 1990,” is dismissed as to

defendant Otis Blair;

          (3)    Count III of the complaint, “Retaliation under

Title VII and the Americans with Disabilities Act,” is dismissed

as to defendants Thaddeus Kirkland, Otis Blair, James Nolan,

Steven Gretsky, Marilyn Lee, and William Shaw, and to the extent

that it alleges retaliation under the Americans with

Disabilities Act, 42 U.S.C. §§ 12101 et seq.;

          (4)    Counts IV and V of the complaint, “Violation of

42 U.S.C. § 1983,” are dismissed in their entirety;
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            (5)   Count VI of the complaint, “Violation of 42

U.S.C. § 1985(2),” is dismissed in its entirety;

            (6)   Count VII of the complaint, “Intentional

Infliction of Emotional Distress,” is dismissed in its entirety;

            (7)   Count VII of the complaint, “Breach of the Duty

of Fair Representation,” is dismissed as to defendant Randy

Bothwell;

            (8)   Count IX of the complaint, “Civil Conspiracy,” is

dismissed in its entirety; and

            (9)   the motions to dismiss are otherwise DENIED.

                                        BY THE COURT:



                                        /s/ Harvey Bartle III
                                                                     J.




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